           Case 2:19-bk-10762-NB                  Doc 99 Filed 03/07/19 Entered 03/07/19 13:06:36                                      Desc
                                                   Main Document     Page 1 of 4

Attorney or Party Name, Address, Telephone & FAX Nos.,                       FOR COURT USE ONLY
State Bar No. & Email Address
NICHOLAS ROZANSKY – Bar No. 219855
SUSAN K. SEFLIN - Bar No. 213865
JESSICA L. BAGDANOV - Bar No. 281020
BRUTZKUS GUBNER
21650 Oxnard Street, Suite 500
Woodland Hills, CA 91367
Telephone: (818) 827-9000
Facsimile: (818) 827-9099
Email: nrozansky@bg.law, sseflin@bg.law,
jbagdanov@bg.law

   Individual appearing without attorney
   Attorney for Debtor Debtor and DIP

                                            UNITED STATES BANKRUPTCY COURT
                                                                      LOS ANGELES
                                      CENTRAL DISTRICT OF CALIFORNIA -Name           DIVISION
                                                                           of DIVISION

In re:                                                                       CASE NO.: 2:19-bk-10762-NB
                                                                             CHAPTER: 11
KOI DESIGN LLC,


                                                                                   SUMMARY OF AMENDED SCHEDULES,
                                                                                        MASTER MAILING LIST,
                                                                                        AND/OR STATEMENTS
                                                                                           [LBR 1007-1(c)]
                                                               Debtor(s)

A filing fee is required to amend Schedules D or E/F (see Abbreviated Fee Schedule on the Court’s website
www.cacb.uscourts.gov). A supplemental master mailing list (do not repeat any creditors on the original) is required as an
attachment if creditors are being added to the Schedule D or E/F.
Are one or more creditors being added?       Yes    No

The following schedules, master mailing list or statements (check all that apply) are being amended:
         Schedule A/B          Schedule C               Schedule D               Schedule E/F             Schedule G
         Schedule H            Schedule I               Schedule J               Schedule J-2             Statement of Financial Affairs
         Statement About Your Social Security Numbers                  Statement of Intention             Master Mailing List
         Other (specify) ___________________________________________________________________

I/we declare under penalty of perjury under the laws of the United States that the amended schedules, master mailing list, and or
statements are true and correct.

      03/07/2019
Date: ______________                                                   /s/ Susan K. Seflin
                                                                       ___________________________________________
                                                                       Debtor 1 Signature
                                                                       ___________________________________________
                                                                       Debtor 2 (Joint Debtor) Signature (if applicable)
NOTE: It is the responsibility of the Debtor, or the Debtor’s attorney, to serve copies of all amendments on all creditors
      listed in this Summary of Amended Schedules, Master Mailing List, and/or Statements, and to complete and file
      the attached Proof of Service of Document.

            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California

December 2015                                                           Page 1                              F 1007-1.1.AMENDED.SUMMARY
Case 2:19-bk-10762-NB   Doc 99 Filed 03/07/19 Entered 03/07/19 13:06:36   Desc
                         Main Document     Page 2 of 4


                        Amended Master Mailing List


                         Daniel Fiorillo
                         Otterbourg
                         230 Park Ave.
                         New York, NY 10169
                         Endless Ammo
                         5655 West Adams Blvd
                         Los Angeles, CA 90016

                         MailFinance, Inc.
                         478 Wheelers Farms Road
                         Milford, CT 06461

                         MailFinance                             [DELETE]
                         Dept 3682
                         PO Box 123682
                         Dallas, TX 75312-3682

                         Rebecca Biggers
                         C/O Hilaire McGriff PC
                         601 S Figuera St., Ste 4050
                         Los Angeles, CA 90017

                         SoCal Office Technologies
                         5700 Warland Dr.
                         Cypress, CA 90630

                         SoCal Office Technologies               [DELETE]
                         File 50897
                         Los Anglees, CA 90074

                         tokidoki LLC
                         5655 West Adams Blvd
                         Los Angeles, CA 90016

                         Wells Fargo Bank, N A
                         Wells Fargo Equipment Finance
                         Manufacturer Services Group
                         300 Tri State International, Ste 400
                         Lincolnshire, IL 60069-8000
        Case 2:19-bk-10762-NB                   Doc 99 Filed 03/07/19 Entered 03/07/19 13:06:36                                      Desc
                                                 Main Document     Page 3 of 4

                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
21650 Oxnard Street, Suite 500, Woodland Hills, CA 91307



A true and correct copy of the foregoing document entitled (specify): SUMMARY OF AMENDED SCHEDULES, MASTER
MAILING LIST, AND/OR STATEMENTS [LBR 1007-1(c)] will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 03/07/2019
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                         Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) _______________,
                                                         03/07/2019         I served the following persons and/or entities at
the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 03/07/2019         NIKOLA A. FIELDS                                                 /s/ Nikola A. Fields
 Date                     Printed Name                                                      Signature


          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California

December 2015                                                         Page 2                              F 1007-1.1.AMENDED.SUMMARY
       Case 2:19-bk-10762-NB       Doc 99 Filed 03/07/19 Entered 03/07/19 13:06:36             Desc
                                    Main Document     Page 4 of 4


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

      Jessica L Bagdanov jbagdanov@bg.law, ecf@bg.law
      Howard Camhi hcamhi@ecjlaw.com, tcastelli@ecjlaw.com;amatsuoka@ecjlaw.com
      Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
      Mark D Hurwitz mhurwitz@lsl-la.com, dsmall@lsl-la.com,kfinn@lsl-la.com
      Dare Law dare.law@usdoj.gov
      Susan K Seflin sseflin@bg.law
      United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov



2. SERVED BY UNITED STATES MAIL


   Daniel Fiorillo                        Rebecca Biggers
   Otterbourg                             c/o Hilaire McGriff PC
   230 Park Ave.                          601 S Figuera St., Ste 4050
   New York, NY 10169                     Los Angeles, CA 90017

   Endless Ammo                           SoCal Office Technologies
   5655 West Adams Blvd                   5700 Warland Dr.
   Los Angeles, CA 90016                  Cypress, CA 90630

   MailFinance, Inc.                      SoCal Office Technologies
   478 Wheelers Farms Road                File 50897
   Milford, CT 06461                      Los Anglees, CA 90074

   MailFinance                            tokidoki LLC
   Dept 3682                              5655 West Adams Blvd
   PO Box 123682                          Los Angeles, CA 90016
   Dallas, TX 75312-3682
                                          Wells Fargo Bank, N A
                                          Wells Fargo Equipment Finance
                                          Manufacturer Services Group
                                          300 Tri State International, Ste 400
                                          Lincolnshire, IL 60069-8000
